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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

  DOUG LONGHINI,                                     )
                                                     )
                  Plaintiff,                         )
                                                     )
  v.                                                 )
                                                     )    Case No. 1:20-cv-21532-DPG
  GABLES PLAZA INVESTORS, INC.,                      )
                                                     )
                  Defendant.                         )
                                                     )
                                                     )

                      DEFENDANT GABLES PLAZA INVESTORS, INC.’S
                         CORPORATE DISCLOSURE STATEMENT

          Defendant, Gables Plaza Investors, INC., (“Defendant”) hereby discloses the following

  pursuant to this Court’s Order on Interested Persons and Corporate Disclosure:

          1.      The name of each person, attorney, association of persons, firm, law firm,

  partnership, and corporation that has or may have an interest in a party to this action or in the outcome

  of this action, including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded

  companies that own 10% or more of a party’s stock, and all other identifiable legal entities related

  to a party:

                  Doug Longhini, (Plaintiff)

                  Garcia-Menocal & Perez, P.L. (counsel for Plaintiff)

                  Alfredo Garcia-Menocal, Esq. (counsel for Plaintiff)

                  Alfredo Garcia-Menocal, P.A. (counsel for Plaintiff)

                  Anthony J. Perez, Esq. (counsel for Plaintiff)

                  Anthony J. Perez, P.A. (counsel for Plaintiff)

                  Charles Childers ADA Assistance Group, Inc. Plaintiff’s Expert)

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                  GABLES PLAZA INVESTORS, INC. (Defendant)

                  SPIRE LAW, LLC (counsel for Defendant)

                  Jesse I. Unruh, Esq. (counsel for Defendant)

          2.      The name of every other entity whose publicly-traded stock equity, or debt may

   be substantially affected by the outcome of the proceedings:

                  None.

          3.      The name of every other entity which is likely to be an active participant in the

   proceedings, including the debtor and members of the creditors’ committee (or if no creditors’

   committee the 20 largest unsecured creditors):

                  None.

          4.      The name of each victim (individual and corporate), including every person who

   may be entitled to restitution:

                  Doug Longhini (Plaintiff) claims entitlement to restitution, Defendant denies

  same.


          5.      Undersigned counsel certifies that he is unaware of any actual or potential conflict

   of interest involving the District Judge and Magistrate Judge assigned to this case and will

   immediately notify the Court in writing upon learning of any such conflict.

                               [Remainder of Page Intentionally Blank]




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                                                                                 Employment Attorneys
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         DATED this 23rd day of June, 2020.



                                              Respectfully submitted,
                                              Spire Law, LLC
                                              12249 Science Drive, Suite 155
                                              Orlando, Florida 32826
                                              By: s/Jesse I. Unruh
                                                      Jesse I. Unruh, Esq.
                                                      Florida Bar No. 93121
                                                      jesse@spirelawfirm.com
                                              Attorney for Defendant | Gables Plaza Investors,
                                              Inc.
                                 CERTIFICATE OF SERVICE

         I hereby Certify that on this 23rd day of May, 2020, the foregoing was electronically filed

  with the Clerk of Court by using the Florida Courts E-filing Portal which will send a notice of

  electronic filing to: Beverly Virues at bvirues@lawgmp.com and Anthony Joseph Perez at

  ajperezlaw@gmail.com at 4937 SW 74th Court No. 3, Miami, FL 33155.

                                                /s/ Jesse Unruh
                                                Jesse Unruh




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                                                                               Employment Attorneys
